Case 5:21-cv-00789-VAP-MAR Document 13 Filed 10/05/21 Page 1 of 1 Page ID #:80




  1
  2
  3
  4
  5
  6
                                UNITED STATES DISTRICT COURT
  7
                           CENTRAL DISTRICT OF CALIFORNIA
  8
  9
 10    RICHARD G. LOZANO ,                           Case No. 5:21-cv-789-VAP (MAR)
 11                                 Plaintiff,
 12                            v.                    ORDER ACCEPTING FINDINGS
                                                     AND RECOMMENDATION OF
 13                                                  UNITED STATES MAGISTRATE
       SAN BERNARDINO SHERIFF DEPT.,                 JUDGE
 14
                                    Defendant(s).
 15
 16
 17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
 18   relevant records on file, and the Final Report and Recommendation of the United
 19   States Magistrate Judge. The Court accepts the findings and recommendation of the
 20   Magistrate Judge.
 21         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
 22   action with prejudice.
 23
 24   Dated: October 5, 2021
 25
 26                                              HONORABLE VIRGINIA A. PHILLIPS
 27                                              United States District Judge
 28
